AO 245D-CAED (Rev.Case   1:05-cr-00234-OWW
                  9/01) Sheet                             Document
                              1 - Judgment in a Criminal Case             26
                                                              for Revocation   Filed 07/05/05 Page 1 of 3


                                   United States District Court
                                           Eastern District of California

         UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                    v.                                                   (For Revocation of Probation or Supervised Release)
                                                                         (For Offenses committed on or after November 1, 1987)
         MICHAEL ANTHONY BENSON
                      (Defendant’s Name)                                 Criminal Number: 1:00M02081-001,1:00M02082-
                                                                         001, 1:00M02083-001,

                                                                         Marc Ament
                                                                         Defendant’s Attorney

THE DEFENDANT:
[U] admitted guilt to violation of charge(s) 1,2,3,4,5 as alleged in the violation petition filed on 10/9/02 .
[]  was foun d in violation of condition(s) of supervision as to charge(s)    after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defend ant is guilty of the following violation(s):

Violation Numb er                   Nature of Violation                                     Date Violation Occurred
See next page.




The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on 10/17/00 .

       The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       Charg e(s)      is/are dismissed.


        IT IS FURTHER ORD ERED that the defendant shall notify the United States Attorney for this district within 30
days of an y change of na m e, res idence, or m ailing ad dres s until all fines , restitution , cos ts, and sp ecial assess m ents
imposed by this judgment are fully paid.

                                                                                              06/24/05
                                                                                   Date of Imposition of Sentence


                                                                                                  /s/
                                                                                     Signature of Judicial Officer


                                                                    LAWRENCE J. O’NEILL, United States Magistrate Judge
                                                                             Nam e & Title of Judicial Officer


                                                                                                7/5/05
                                                                                                 Da te
AO 245D-CAED (Rev. Case    1:05-cr-00234-OWW
                   3/04) Judgment                          Document
                                  in a Criminal Case for Revocation Sheet I 26   Filed 07/05/05 Page 2 of 3
CASE NUMBER:               1:00M02081-001                                                                     Judgment - Page 2 of 3
DEFENDANT:                 MICHAEL ANTHONY BENSON

                                                      ADDITIONAL VIOLATION
                                                                                         Date Violation
Violation Numb er                    Nature of Violation                                 Concluded

Charge 1                             Failure to submit a truthful and                    6/24/05
                                     complete written report within the first
                                     five days of each month to the probation
                                     officer

Charge 2                             Failure to notify the probation officer             6/24/05
                                     ten days prior to any change in residence or
                                     employment

Charge 3                             Failure to not leave the judicial district          6/24/05
                                     without permission of the court or probation
                                     officer
Charge 4                             Failure to follow instructions of the probation     6/24/05
                                     officer
Charge 5                             Failure to reside in and participate in a           6/24/05
                                     residential community correctional center
                                     for a p eriod not to e xceed 15 days or u ntil
                                     discharged by the probation officer and
                                     center director
AO 245B-CAED (Rev. Case   1:05-cr-00234-OWW
                   3/04) Sheet 2 - Imprisonment             Document 26 Filed 07/05/05 Page 3 of 3
CASE NUMBER:              1:00M02081-001                                                                   Judgment - Page 3 of 3
DEFENDANT:                MICHAEL ANTHONY BENSON



                                                        IMPRISONMENT
           The defendan t is hereby comm itted to the custody of the United States B ureau of Prisons to be imprisone d for a
total term of 6 months as to case number 1:00M02081, Cts 1 and 2, case number 1:00M02082, Ct1 and case number
1:00M0 2083, Ct1. T he Burea u of Prisons will determine the am ount of time se rved. The de fendant sha ll pay costs of
confinement as determined by the Bureau of Prisons
It is further ordered that the sentence in case numbers 1:00M02081LJO, 1:00M02082LJO and 1:00M02083, to be
serve d concurrently.




[U]     The court makes the following recomm endations to the Bureau of Prisons:
           NV Institution


[U]     The defendant is rem anded to the custo dy of the U nite d State s M arshal.


[]      Th e de fendan t shall surren der to the U nited S tates Ma rshal for this district.
        [ ] at     on     .
        [ ] as notified by the Un ited Sta tes Marshal.


[]      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [ ] before on        .
        [ ] as notified by the Un ited Sta tes Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no s uch institution has bee n de signated , to the U nited S tates Ma rshal for this district.


                                                               RETURN
I have executed this judgment as follows:




        Defendant delivered on                                      to

at                                          , with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL



                                                                                         By
                                                                                                  Deputy U.S. Marshal
